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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 12-20397-CR-ROSENBAUM


  UNITED STATES OF AMERICA,

                 Plaintiff,

  v.

  WILLIS L. McKNIGHT,

                 Defendant.
                                               /


                       ORDER REGARDING PRETRIAL PROCEDURES

         This matter is set for trial to begin on August 15, 2012, at 9:00 a.m., at 299 East Broward

  Boulevard, Courtroom 310-B, Fort Lauderdale, Florida. It is further ORDERED that immediately

  before trial begins, counsel for both parties shall be prepared to indicate whether they have complied

  with the following procedure:

         Should any plea offer be made by the Government but not accepted by Defendant, the

  Government shall attach to any such offer a cover sheet with space for Defendant and Defendant’s

  attorney to certify that Defendant has reviewed the plea offer. The cover sheet shall also include

  space for Defendant and Defendant’s attorney to certify the dates of signature. This document shall

  be signed by Defendant and Defendant’s attorneys before trial. This document shall not be filed

  with the Court or otherwise provided to the Court but shall be maintained within the

  Government’s case file. The parties shall not advise the Court whether any plea offer has been

  made or, if so, of the contents of any plea offer that might have been made. See United States

  v. Tobin, 676 F.3d 1264 (11th Cir. 2012). Before trial begins, the Court will specifically inquire as
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  to whether the parties have complied with this paragraph of this Order. The parties shall respond

  with either a “yes” or “no,” without further elaboration. If no other plea offer has been made

  or if a plea offer has been made and the requirements of this paragraph have been satisfied, the

  answer shall be “yes.”

         DONE AND ORDERED at Fort Lauderdale, Florida, this 7th day of August 2012.




                                                       ROBIN S. ROSENBAUM
                                                       UNITED STATES DISTRICT JUDGE

  cc:    Counsel of Record




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